           Case 5:18-cv-07182-EJD   Document 263     Filed 12/02/24   Page 1 of 19




 1
                        UNITED STATES DISTRICT COURT
 2                     NORTHERN DISTRICT OF CALIFORNIA

 3   NEO4J, INC., et al.,                  CASE NO. 5:18-CV-7182 EJD
     Plaintiff,
 4
     v.
 5   JOHN MARK SUHY
     Defendant.
 6

 7

 8

 9

10    EMERGENCY MOTION TO STAY ENFORCEMENT OF JUDGMENT
11              PENDING APPEAL WITHOUT BOND

12    I.   INTRODUCTION
13         A judgment was entered against the Defendant, along with iGov Inc.
14
           and Purethink LLC, in the United States District Court for the
15
           Northern District of California, Case No. 5:18-cv-07182-EJD, as
16

17         documented in Document 251, filed on August 15, 2024. The judgment

18         holds the parties jointly and severally liable, and it has been
19
           domesticated in the Fairfax County Circuit Court. (See Exhibit C).
20

21

22         Defendant has filed an appeal in the United States Court of Appeals for

23         the Ninth Circuit, Neo4j, Inc., et al. v. Suhy, et al., Case No. 24-5538,
24
           where it is currently pending. (See Exhibit D).
25




                                                                                       1
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 2 of 19




     This case exemplifies how Neo4j Inc., a billion-dollar corporation, is
 1

 2   using its resources to silence an open-source advocate. Neo4j gained

 3   prominence through the open-source community but later sought to
 4
     maximize profits by imposing restrictive licensing terms, including the
 5
     unauthorized addition of the "Commons Clause" to the Free Software
 6

 7   Foundation’s (FSF) AGPLv3 license.

 8

 9
     As an open-source advocate, Defendant created competing free and
10
     open-source forks of Neo4j’s software—ONgDB and DozerDB—to
11

12   preserve software freedom. These projects have gained significant

13   traction, providing cost-effective alternatives to Neo4j’s commercial
14
     offerings and challenging its business model.
15

16
     The damages in this case stem from Neo4j’s assertion that Defendant’s
17

18   modifications to the AGPL license, including removing the Commons

19   Clause, influenced the Maryland Procurement Office (MPO) to adopt
20
     ONgDB. However, the FSF sent Neo4j a cease-and-desist letter
21
     confirming that its use of the Commons Clause violated the AGPL’s
22

23   terms. Neo4j subsequently complied by removing the infringing tags,

24   branches, and source code, validating the Defendant’s actions. (See
25




                                                                               2
            Case 5:18-cv-07182-EJD    Document 263    Filed 12/02/24   Page 3 of 19




             Exhibit A and Declaration #3 of John Mark Suhy, attached as Exhibit
 1

 2           E.)

 3

 4
             Despite this, Neo4j continues to pursue aggressive legal actions,
 5
             including wage garnishment, threatening Defendant’s livelihood and
 6

 7           forcing him toward bankruptcy. These actions represent legal

 8           overreach and underline the disproportionate impact enforcement
 9
             would have on Defendant compared to minimal harm to Neo4j.
10

11

12           Defendant respectfully requests this Court to stay all collection efforts

13           and enforcement of the judgment without requiring a bond due to
14
             financial hardship, the public importance of the appeal, and the
15
             disproportionate impact enforcement would have on Defendant and his
16
             family.
17

18

19   II.     BACKGROUND
20
           A. Judgment and Appeal
21
             Judgment was entered on August 15, 2024 (ECF No. 251).
22

23           Defendant filed a timely appeal, which will raise significant legal issues

24           concerning licensing, trademark claims, and damages.
25




                                                                                         3
             Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 4 of 19




            B. Wage Garnishment
 1

 2            Neo4j has initiated garnishment proceedings with a return date set for

 3            December 13, 2024, as documented in Exhibit G. Immediate
 4
              enforcement would severely harm Defendant by jeopardizing his ability
 5
              to maintain employment and support his family.
 6

 7          C. Financial Context

 8            Defendant is the primary breadwinner, and garnishment would force
 9
              him into bankruptcy, depriving Neo4j of meaningful recovery and
10
              placing other creditors at a disadvantage.
11
     III.     LEGAL STANDARD
12

13            Federal Rule of Civil Procedure 62(b) provides that “[a] party may

14            obtain a stay by providing a bond or other security.” While the rule
15
              establishes a bond as the default mechanism for obtaining a stay,
16
              courts have consistently held that they retain equitable discretion to
17

18            grant unsecured stays in appropriate circumstances. This discretion is

19            exercised where the appellant demonstrates financial hardship,
20
              enforcement would impose undue harm, or alternative measures can
21
              adequately protect the opposing party’s rights. See Fed. Presc. Serv. v.
22

23            Am. Pharm. Ass'n, 636 F.2d 755, 758 (D.C. Cir. 1980); Poplar Grove

24            Planting & Refining Co. v. Bache Halsey Stuart, Inc., 600 F.2d 1189,
25
              1191 (5th Cir. 1979).



                                                                                         4
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 5 of 19




     Federal courts have further clarified that Rule 62 does not limit a
 1

 2   district court’s discretion to grant unsecured stays or impose

 3   alternative terms for a stay. See Rivera v. Home Depot U.S.A. Inc., 16-
 4
     cv-7552 (KBF) (S.D.N.Y. Jun. 25, 2018); Aristocrat Technologies v.
 5
     International Game Techno, No. C06-03717 MJJ (N.D. Cal. Jan. 9,
 6

 7   2008).

 8

 9
     In this case, Defendant respectfully requests that the Court exercise its
10
     discretion under Rule 62(b) to stay enforcement of the judgment
11

12   without requiring a bond. Defendant’s financial circumstances render a

13   bond unduly burdensome, and immediate enforcement would cause
14
     irreparable harm, including the potential loss of employment due to
15
     wage garnishment and the resulting impact on Defendant’s
16
     government security clearance.
17

18

19   Furthermore, the Free Software Foundation (FSF), the copyright
20
     holder of the AGPLv3 license central to this dispute, issued a cease-
21
     and-desist letter confirming that Neo4j’s addition of the Commons
22

23   Clause violated the AGPL’s terms. Neo4j’s subsequent removal of the

24   infringing files and code validates Defendant’s actions in removing the
25
     Commons Clause, which are at the heart of the judgment. The FSF’s



                                                                               5
           Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 6 of 19




           authoritative position highlights the substantial merit of Defendant’s
 1

 2         appeal and underscores the equitable considerations favoring a stay

 3         without bond.
 4

 5
     IV.   ARGUMENT
 6

 7         1. Equitable Grounds for Stay Without Bond

 8         This Court has the equitable authority to stay enforcement of a
 9
           judgment without requiring the posting of a bond when the
10
           circumstances warrant such relief. Numerous federal courts have
11

12
           recognized and exercised this discretion. See, e.g., In re Nassau County

13         Strip Search Cases, 783 F.3d 414, 417 (2d Cir. 2015) (noting that courts
14         may waive bond requirements where equity supports it); Dillon v. City
15
           of Chicago, 866 F.2d 902 (7th Cir. 1988) (holding that bond
16
           requirements may be modified based on financial hardship and other
17

18         equitable factors); Fed. Prescription Serv., Inc. v. Am. Pharm. Ass'n,

19         636 F.2d 755, 758 (D.C. Cir. 1980) (finding that district courts may
20
           grant stays without bond under appropriate circumstances); Poplar
21
           Grove Planting & Ref. Co. v. Bache Halsey Stuart, Inc., 600 F.2d 1189,
22

23         1190–91 (5th Cir. 1979) (emphasizing that bond requirements are not

24         absolute and may be adjusted); Trans World Airlines, Inc. v. Hughes,
25




                                                                                    6
     Case 5:18-cv-07182-EJD   Document 263     Filed 12/02/24   Page 7 of 19




     515 F.2d 173, 176 (2d Cir. 1975) (recognizing the court's discretion to
 1

 2   waive or modify bond requirements under equitable circumstances).

 3

 4
     The court has discretion to authorize unsecured stays where equity and
 5
     the facts of the case justify such relief, even though Rule 62 provides for
 6

 7   a supersedeas bond as a default mechanism. See Rivera v. Home Depot

 8   U.S.A. Inc., 16-cv-7552 (KBF) (S.D.N.Y. Jun. 25, 2018).
 9

10
     Furthermore, the Northern District of California has explicitly
11

12   recognized that Rule 62 does not limit a district court’s discretion to

13   grant unsecured stays where equity so demands. See Aristocrat
14
     Technologies v. International Game Tech., No. C06-03717 MJJ (N.D.
15
     Cal. Jan. 9, 2008).
16

17

18   Courts have consistently held that requiring a bond is unnecessary

19   where the defendant demonstrates limited financial resources or where
20
     enforcement would impose severe hardship. Here, Defendant’s financial
21
     circumstances render the imposition of a bond an undue burden.
22

23   Immediate garnishment of Defendant’s wages would force him into

24   bankruptcy, leaving his family without adequate financial support and
25




                                                                               7
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 8 of 19




     jeopardizing his government security clearance, which is essential to
 1

 2   his employment and livelihood.

 3

 4
     In addition to financial hardship, Defendant’s appeal raises substantial
 5
     legal and factual issues. The Free Software Foundation (FSF), the
 6

 7   copyright holder of the AGPLv3 license central to this case, issued a

 8   cease-and-desist letter confirming that Neo4j’s addition of the
 9
     Commons Clause violated the AGPL’s terms. The FSF letter supports
10
     the position that Neo4j’s licensing practices raised significant concerns,
11

12   which were central to the Defendant's actions in removing the

13   Commons Clause. While not legally binding, the FSF’s authoritative
14
     perspective underscores the complexity of the licensing dispute. Neo4j
15
     subsequently removed the infringing files, tags, and code from its
16
     repository, validating the Defendant’s actions in removing the
17

18   Commons Clause. These actions are now central to the judgment. The

19   FSF’s authoritative position demonstrates the merit of Defendant’s
20
     appeal, which raises significant questions about licensing and
21
     intellectual property rights that could set important legal precedents.
22

23

24   Immediate enforcement of the judgment would irreparably harm the
25
     Defendant while providing no meaningful benefit to Neo4j, a billion-



                                                                               8
     Case 5:18-cv-07182-EJD    Document 263    Filed 12/02/24   Page 9 of 19




     dollar corporation. Neo4j faces no material prejudice from a temporary
 1

 2   stay of enforcement, as its financial position remains unaffected by the

 3   delay. In contrast, enforcement would impose extraordinary harm on
 4
     the Defendant, including the potential loss of employment and financial
 5
     ruin.
 6

 7

 8   These extraordinary circumstances justify equitable relief to preserve
 9
     the status quo while the appellate court reviews these significant
10
     issues. A stay without bond would ensure fairness and equity in light of
11

12   the Defendant’s demonstrated hardship, the merit of his appeal, and

13   the lack of prejudice to Neo4j. Neo4j, as a billion-dollar corporation,
14
     faces no material risk from a delay in enforcement, as the judgment
15
     amount is negligible in the context of its financial position.
16

17

18   2. Financial Hardship and Irreparable Harm

19   The Defendant faces immediate and severe financial consequences if
20
     enforcement of the judgment proceeds. The garnishment order issued
21
     on October 15, 2024, threatens to force the Defendant into bankruptcy,
22

23   a scenario that would devastate his family, jeopardize his government

24   security clearance essential to his employment, and irreparably harm
25
     his ability to recover financially.



                                                                                9
     Case 5:18-cv-07182-EJD    Document 263    Filed 12/02/24   Page 10 of 19




      Requiring a bond in this situation would exacerbate the hardship, as
 1

 2    the Defendant is unable to satisfy the judgment or post a bond without

 3    triggering bankruptcy. A stay would allow the Defendant to preserve
 4
      critical financial resources and maintain his security clearance,
 5
      enabling him to continue supporting his family and addressing his
 6

 7    financial obligations. Should the appeal succeed, the Defendant would

 8    be in a far stronger position to address any resulting obligations
 9
      without resorting to bankruptcy.
10

11

12    This is not a hypothetical concern; the garnishment directly threatens

13    the Defendant’s livelihood and could result in the loss of his clearance,
14
      leading to job loss and compounding financial ruin. These consequences
15
      would harm not only the Defendant and his family but also other
16
      creditors, including Neo4j, who would likely receive nothing in a
17

18    bankruptcy proceeding.

19

20
      Federal courts have recognized the discretion to waive bond
21
      requirements in cases of demonstrated financial hardship. See, e.g.,
22

23    Fed. Presc. Serv. v. Am. Pharm. Ass'n, 636 F.2d 755 (D.C. Cir. 1980). In

24    such cases, courts have prioritized equity and practicality to ensure
25
      that enforcement does not cause irreparable harm or undermine the



                                                                                10
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 11 of 19




      appeal process. The Defendant’s financial position and the catastrophic
 1

 2    consequences of immediate garnishment clearly demonstrate the need

 3    for this Court to exercise its discretion to waive the bond requirement
 4
      and stay enforcement of the judgment.
 5

 6

 7    3. Merits of the Appeal

 8    The appeal raises critical issues regarding the interpretation and
 9
      application of the GPLv3 license, which underpins a vast array of open-
10
      source projects that form the foundation of much of the internet’s
11

12    infrastructure. The Free Software Foundation (FSF), the copyright

13    holder of the GPLv3, has confirmed that Neo4j’s addition of the
14    Commons Clause violated the GPLv3’s terms, and the Defendant’s
15
      removal of the clause was justified. This action was crucial to
16
      maintaining the integrity of the GPLv3, which is designed to protect
17

18    users' freedom to use and modify software, including the Defendant's

19    open-source projects, ONgDB and DozerDB.
20

21
      The FSF letter supports the position that Neo4j’s addition of the
22

23    Commons Clause raised significant licensing concerns, which were

24    central to the Defendant's actions. While not legally binding, the FSF’s
25
      authoritative perspective underscores the complexity of the licensing



                                                                                11
     Case 5:18-cv-07182-EJD   Document 263     Filed 12/02/24   Page 12 of 19




      dispute and highlights the significant public interest in ensuring
 1

 2    compliance with the GPLv3’s terms. This perspective demonstrates the

 3    merit of Defendant’s appeal and further supports the importance of
 4
      appellate review.
 5

 6

 7    The district court, however, made factual errors that contribute to the

 8    Defendant’s appeal. For example, the court concluded that the removal
 9
      of the Commons Clause allowed ONgDB to be offered for free, enabling
10
      the MPO to choose ONgDB over Neo4j EE. (See Exhibit B, p. 14, lines
11

12    23-25; p. 15, line 1). This is incorrect. As acknowledged in Exhibit B,

13    the MPO continued to use ONgDB over Neo4j EE because of price. (See
14
      Exhibit B, p. 9, lines 2-4). The Commons Clause limited resale and
15
      commercial services, but it did not prevent the free use of the software,
16
      which is the basis for the MPO's decision to use ONgDB. (See Exhibit
17

18    F, p. 15).

19

20
      Additionally, the court’s calculation of damages is flawed. The court
21
      assumed that the MPO would have purchased Neo4j EE had the
22

23    Commons Clause remained, but the court itself noted that the MPO

24    chose ONgDB due to pricing concerns. While the Court found that the
25
      removal of the Commons Clause contributed to the MPO’s decision to



                                                                                12
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 13 of 19




      use ONgDB over Neo4j EE, other factors, such as budget constraints
 1

 2    and the MPO’s historical preference for open-source solutions, likely

 3    played a significant role in the outcome. Furthermore, the MPO
 4
      required enterprise-level features, which were available at no cost
 5
      through ONgDB regardless of the presence of the Commons Clause.
 6

 7

 8    Moreover, the court made speculative guesses about what the MPO
 9
      might have paid for Neo4j EE, with no factual support for these figures.
10
      The court’s damages assessment, therefore, relied on both an erroneous
11

12    assumption that the removal of the Commons Clause impacted the

13    MPO’s decision and speculative figures that are unsupported by
14
      evidence. (See Exhibit B pp. 17-20).
15

16
      Moreover, the court acknowledged that Defendants' removal of the
17

18    Commons Clause allowed the MPO to use ONgDB for free, but it did

19    not account for the fact that ONgDB was still available to the MPO at
20
      no cost even with the Commons Clause. This further undermines the
21
      court’s rationale for awarding damages based on lost licensing revenue
22

23    from the MPO.

24

25




                                                                               13
     Case 5:18-cv-07182-EJD   Document 263     Filed 12/02/24   Page 14 of 19




      The appeal also addresses the court’s misinterpretation of the
 1

 2    Defendant’s actions under the GPLv3, as confirmed by the FSF's cease-

 3    and-desist letter, which emphasized that the Commons Clause violated
 4
      the GPLv3’s terms. This alone highlights the merit of the appeal and
 5
      underscores its significance for the open-source community. A ruling
 6

 7    that upholds the district court’s decision would set a damaging

 8    precedent for open-source projects worldwide and severely undermine
 9
      the GPLv3’s protections.
10

11

12    Given these substantial errors, the appeal is meritorious and crucial

13    not only for the Defendant but also for the broader open-source
14
      ecosystem.
15

16
      4. Imbalance of Resources and Disproportionate Impact
17

18    Neo4j, a billion-dollar corporation, has utilized its substantial resources

19    to overwhelm the Defendant, a pro se litigant. Despite Neo4j’s own
20
      violations of the GPLv3 license, as confirmed by the Free Software
21
      Foundation (FSF) in its cease-and-desist letter, the company continues
22

23    to pursue excessive damages against the Defendant.

24

25




                                                                                14
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 15 of 19




      The judgment amount of over $600,000 is negligible for Neo4j but
 1

 2    represents a catastrophic financial burden for the Defendant, who is

 3    the primary provider for his family. Enforcing the judgment would
 4
      irreparably harm the Defendant, forcing him into bankruptcy and
 5
      jeopardizing his livelihood, while Neo4j would suffer no significant
 6

 7    prejudice from a temporary stay.

 8

 9
      Courts routinely consider the inequities between parties and the
10
      disproportionate impact of enforcement when modifying or waiving
11

12    bond requirements. Granting a stay in this instance is consistent with

13    those equitable principles and ensures that enforcement does not
14
      unjustly harm the Defendant while the appeal is pending.
15

16
      5. Minimal Prejudice to Plaintiff
17

18    Granting a stay would cause minimal, if any, prejudice to Neo4j. The

19    judgment amount is immaterial in the context of Neo4j’s overall
20
      financial position as a billion-dollar corporation. Moreover, Neo4j’s
21
      operations and business objectives will remain unaffected by a
22

23    temporary delay in enforcement.

24    In contrast, immediate garnishment would push the Defendant into
25
      bankruptcy, depriving Neo4j of meaningful recovery if the appeal is



                                                                               15
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 16 of 19




      unsuccessful. Bankruptcy would also harm the Defendant’s other
 1

 2    creditors, who would likely receive nothing, and disrupt the

 3    Defendant’s government security clearance, causing additional
 4
      financial and professional harm.
 5
      The disproportionate consequences for the Defendant compared to the
 6

 7    negligible impact on Neo4j underscore the need for a stay to preserve

 8    fairness and equity while the appeal is pending.
 9

10
      6. Public Interest
11

12    The public interest is strongly in favor of granting the stay. The

13    outcome of this case will have far-reaching implications for the open-
14    source software community and the principles underlying free software
15
      licensing. A ruling in favor of Neo4j would allow companies to impose
16
      unauthorized restrictions on GPLv3-licensed software, undermining
17

18    decades of work by the Free Software Foundation and jeopardizing the

19    free and open nature of software like Linux, which is licensed under
20
      GPLv3.
21

22

23    This case has attracted the attention of the Free Software Foundation

24    and the broader open-source community because it concerns
25
      fundamental rights to modify and redistribute software. The



                                                                               16
          Case 5:18-cv-07182-EJD     Document 263   Filed 12/02/24   Page 17 of 19




           Defendant’s actions, as confirmed by the FSF, were in defense of these
 1

 2         rights and freedoms, and the public interest supports allowing the

 3         appeal to proceed. The Free Software Foundation (FSF) and Free
 4
           Software Conservancy have communicated their intent to file amicus
 5
           briefs in the 9th Circuit Court. (See Declaration #5 of John Mark Suhy,
 6

 7         attached as Exhibit E.)

 8

 9
           This aligns with cases like Nken v. Holder, 556 U.S. 418, 433 (2009),
10
           where the court considered the broader public interest as one of the key
11

12         factors when determining whether to grant a stay.

13

14   V.    RELIEF REQUESTED
15
           Defendant respectfully requests that this Court:
16
           1. Issue a temporary stay of enforcement to preserve the status quo
17

18            while this motion is considered;

19         2. Grant a stay of enforcement without bond pending resolution of the
20
              appeal; and
21
           3. Expedite consideration of this motion.
22

23

24

25




                                                                                     17
     Case 5:18-cv-07182-EJD   Document 263    Filed 12/02/24   Page 18 of 19




 1

 2

 3                                                         Respectfully submitted
 4                                                              John Mark Suhy
 5                                                                       Pro Se
                                                      Dated: December 2nd, 2024
 6
                                             By: _____/s/ John Mark Suhy Jr.
 7
                                                            8814 Danewood Dr
 8                                                       Alexandria, VA 22308
 9                                                         Tel: (703) 862-7780
                                                    Email: jmsuhy@gmail.com
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                                                               18
          Case 5:18-cv-07182-EJD          Document 263        Filed 12/02/24     Page 19 of 19




 1

 2                                 CERTIFICATE OF SERVICE

 3   I hereby certify that, on December 2, 2024, a true and correct copy of the foregoing Motion,
     Exhibits, and declaration of John Mark Suhy was filed with the Clerk of the Court for the United
 4   States District Court for the Northern District of California using the PACER system. This filing
     will send notification of such filing to all counsel of record and registered participants.
 5
     Date: December 2, 2024
 6   /s/ John Mark Suhy Jr.
     John Mark Suhy Jr.
 7
     8814 Danewood Dr
 8   Alexandria, VA 22308
     jmsuhy@gmail.com
 9   703-862-7780

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                                                                                    19
